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                                               State of New Jersey
PHILIP D. MURPHY                             OFFICE OF THE ATTORNEY GENERAL                               MATTHEW J. PLATKIN
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                                                     DIVISION OF LAW
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   Lt. Governor                                       Newark, NJ 07101                                        Acting Director


                                                        July 10, 2025

       VIA ECF
       Honorable Leda Dunn Wettre, U.S.M.J.
       United States District Court for the District of New Jersey
       Martin Luther King Jr. Federal Building & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                        Re: United States, et al. v. Apple Inc.
                            Case No. 2:24-cv-04055 (JXN-LDW)
                            Notice of Withdrawal of Counsel

       Dear Judge Wettre:

               This Office, by and through Attorney General Matthew J. Platkin, represents Plaintiff New
       Jersey in the above-captioned matter. This correspondence is submitted on behalf of Plaintiff
       Massachusetts acting by and through its respective Attorney General in the above-captioned
       matter. Pursuant to Local Civil Rules 101.1(c)(5) and 102.1, I write to respectfully request that the
       Court approve Assistant Attorney General David Mlaver’s withdrawal as counsel for Plaintiff
       Massachusetts, as he is departing the Massachusetts Office of the Attorney General effective July
       11, 2025.

              David Mlaver’s withdrawal will not result in any delay, as Plaintiff Massachusetts will
       continue to be represented by Assistant Attorneys General Katherine Krems and Anthony Mariano
       who were previously admitted Pro Hac Vice on behalf of Massachusetts in this matter on July 1,
       2024 (See ECF No. 66) and July 3, 2025 (See ECF No. 286) respectively. All pleadings and other
       papers should be served upon Assistant Attorneys General Katherine Krems and Anthony
       Mariano. Assistant Attorney General David Mlaver should be removed as attorney of record for
       Massachusetts.

                  Thank you for your consideration of this matter.




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                                  Respectfully submitted,

                                  MATTHEW J. PLATKIN
                                  ATTORNEY GENERAL OF NEW JERSEY

                                  By:_______________________________
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                                        Minnesota, Nevada, New Hampshire, New York,
                                        North Dakota, Oklahoma, Oregon, Tennessee,
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Encs.
CC: All Counsel of Record (via ECF)
